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                          United States District Court
                                                 Western District of Wisconsin
                   UNITED STATES OF AMERICA                          AM ENDED JUDGM ENT IN A CRIM INAL CASE
                                                                       (for offenses committed on or after November 1, 1987)

                                    V.                                           Case Number:         06-CR-214-S-02

                             IBN ALI W ILLIAMS                        Defendant's Attorney:           Robert T. Ruth



The defendant Ibn Ali W illiam s pleaded guilty to Count 1 of the indictm ent.




ACCORDINGLY, the Court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                      Date Offense         Count
Title & Section             Nature of Offense                                         Concluded          Num ber(s)
21 U.S.C. § 841(a)(1) and   Possession with Intent to Distribute 5 Gram s or          Novem ber 10, 2006     1
18 U.S.C. § 2               More of Crack Cocaine, a Schedule II Controlled
                            Substance; a Class B felony


The defendant is sentenced as provided in pages 2 through 6 of this judgm ent.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district w ithin 30 days
of any change of nam e, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.




  Defendant's Date of Birth:                 May 30, 1983                                            November 18, 2008
                                                                                               Date of Imposition of Judgment
  Defendant's USM No.:                       06325-090

  Defendant's Residence Address:             925 Tony Drive
                                             Madison, WI 53714                                          /s/ Barbara B. Crabb
                                                                                                      Barbara B. Crabb
  Defendant's Mailing Address:               c/o Bureau of Prisons
                                                                                                       District Judge

                                                                                                     November 18, 2008
                                                                                                         Date Signed:
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                                                 IMPRISONMENT
As to the one-count indictm ent, it is adjudged that defendant is com m itted to the custody of the Bureau of Prisons for
im prisonm ent for a term of 72 m onths. I recom m end that defendant be afforded the opportunity to participate in educational
and vocational program m ing and substance abuse program m ing while he is confined. I recom m end that he be afforded a pre-
release placem ent in a residential re-entry center with work release privileges.




                                                          RETURN
      I have executed this judgment as follow s:




      Defendant delivered on                                    to

at                                 , with a certified copy of this judgm ent.




                                                                                  UNITED STATES MARSHAL
                                                        By
                                                                                        Deputy Marshal
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                                             SUPERVISED RELEASE
The term of im prisonm ent is to be followed by a four-year term of supervised release.

Defendant shall report to the probation office in the district to which defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

Defendant shall not com m it another federal, state, or local crim e.

Defendant shall not illegally possess a controlled substance.

If defendant has been convicted of a felony, defendant shall not possess a firearm , destructive device, or other dangerous
weapon while on supervised release.

Defendant shall cooperate with the collection of DNA by the U.S. Justice Departm ent and/or the U.S. Probation and Pretrial
Services Office as required by Public Law 108-405.

If this judgm ent im poses a fine or a restitution obligation, it shall be a condition of supervised release that defendant pay any
such fine or restitution that rem ains unpaid at the com m encem ent of the term of supervised release in accordance with the
Schedule of Paym ents set forth in the Financial Penalties sheet of this judgm ent.

Defendant shall com ply with the standard conditions that have been adopted by this court (set forth on the next page).

In light of the nature of the offense and defendant’s m ental health and substance abuse, the following special conditions are
appropriate. Defendant is to:

(1)   Provide the supervising U.S. probation officer any and all requested financial inform ation;

(2)   Register with local law enforcem ent agencies and the state attorney general as directed by the supervising U.S. probation
      officer;

(3)   Perm it unrestricted com m unication between the Social Security Adm inistration and the probation office to insure that
      defendant works regularly at a lawful occupation to the extent that he is capable of doing so, unless he is excused for
      schooling, training or other acceptable reasons;

(4)   Subm it his person, residence, office or vehicle to a search conducted by a U.S. probation officer at a reasonable tim e and
      in a reasonable m anner whenever the probation officer has reasonable suspicion of contraband or of the violation of a
      condition of release; failure to subm it to a search m ay be a ground for revocation; defendant shall warn any other
      residents that the prem ises he is occupying m ay be subject to searches pursuant to this condition; and

(5) Abstain from the use of alcohol and illegal drugs and from association with drug users and sellers and participate in
    substance abuse treatm ent. Defendant shall subm it to drug testing beginning within 15 days of his release and 60 drug
    tests annually thereafter. The probation office m ay utilize the Adm inistrative Office of the U.S. Courts’ phased collection
    process.
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                                  STANDARD CONDITIONS OF SUPERVISION
    1)   Defendant shall not leave the judicial district without the perm ission of the court or probation officer;

    2)   Defendant shall report to the probation officer as directed by the court or probation officer and shall subm it a
         truthful and com plete written report within the first five days of each m onth;

    3)   Defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

    4)   Defendant shall support his or her dependents and m eet other fam ily responsibilities;

    5)   Defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

    6)   Defendant shall notify the probation officer within seventy-two hours of any change in residence or em ploym ent;

    7)   Defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or
         adm inister any narcotic or other controlled substance, or any paraphernalia related to such substances except as
         prescribed by a physician;

    8)   Defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         adm inistered;

    9)   Defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any
         person convicted of a felony unless granted perm ission to do so by the probation officer;

  10)    Defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it
         confiscation of any contraband observed in plain view by the probation officer;

  11)    Defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcem ent officer;

  12)    Defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent
         agency without the perm ission of the court;

  13)    As directed by the probation officer, defendant shall notify third parties of risks that m ay be occasioned by
         defendant's crim inal record or personal history or characteristics, and shall perm it the probation officer to m ake
         such notifications and to confirm defendant's com pliance with such notification requirem ent.
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                                    CRIMINAL MONETARY PENALTIES
Defendant shall pay the following total financial penalties in accordance with the schedule of paym ents set forth below.


                           Count     Assessment             Fine                  Restitution

                              1      $100.00                $0.00                 $0.00

                            Total    $100.00                $0.00                 $0.00



It is adjudged that defendant is to pay a $100 crim inal assessm ent penalty to the Clerk of Court for the W estern District of
W isconsin im m ediately following sentencing.

Defendant does not have the m eans or earning capacity to pay a fine without im pairing his ability to support him self upon
release from confinem ent.
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                                        SCHEDULE OF PAYMENTS
Paym ents shall be applied in the following order:
                                                       (1) assessm ent;
                                                       (2) restitution;
                                                       (3) fine principal;
                                                       (4) cost of prosecution;
                                                       (5) interest;
                                                       (6) penalties.


The total fine and other m onetary penalties shall be due in full im m ediately unless otherwise stated elsewhere.




Unless the court has expressly ordered otherwise in the special instructions above, if the judgm ent im poses a period of
im prisonm ent, paym ent of m onetary penalties shall be due during the period of im prisonm ent.
